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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
STEVE STRELECKI,
                               Civil Action No. 3:19-cv-01939
              Plaintiff,
                               STIPULATION OF DISMISSAL
              v.

P&B CAPITAL GROUP, LLC,

                    Defendant.

      It is hereby stipulated and agreed by and between counsel for Plaintiff,

Steve Strelecki and Defendant, P&B Capital Group, LLC, that the above-entitled

action is hereby dismissed against Defendant, P&B Capital Group, LLC, with

prejudice and without attorneys’ fees and costs pursuant to Rule 41(a)(1)(A)(ii) of

the Federal Rules of Civil Procedure.



Dated: April 1, 2020.

Respectfully submitted,


_/s/ Andrew M. Schwartz                   /s/ Carlo Sabatini
Andrew M. Schwartz                        Carlo Sabatini
Gordon & Rees Scully Mansukhani           Sabatini Freeman, LLC
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(215) 717-4023                            ecf@bankruptcypa.com
amschwartz@grsm.com                       Attorney for Plaintiff
Attorney for Defendant


So ORDERED this ______ day of April, 2020.
                                                   _______________________
                                                   Robert D. Mariani, USDJ
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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 1, 2020, a true and correct copy of the

foregoing document was sent to all counsel of record via the Court’s ECF filing

system.

                                             /s/ Andrew M. Schwartz
                                             Andrew M. Schwartz
